                     IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                             STATESVILLE DIVISION
                        CRIMINAL DOCKET NO.: 5:02CR37-V

UNITED STATES OF AMERICA            )
                                    )
            v.                      )                      ORDER
                                    )
TRAVORIS DANTWAN WILLIAMS, )
                  Defendant.        )
____________________________________)

       THIS MATTER is before the Court upon Motion of the Government, filed March 29, 2010,

requesting that the Defendant’s sentence be reduced pursuant to Fed. R. Crim. P. 35(b)(2) and 18

U.S.C. §3553(e). The Court finds, for the reasons stated in the Government’s motion, that the

Defendant has provided substantial assistance to the Government since the imposition of his

sentence on or about July 7, 2003.

       IT IS, THEREFORE, ORDERED THAT:
       1) The Government’s motion is hereby GRANTED. Accordingly, Defendant’s sentence is
       reduced to a period of TIME SERVED. The instant federal sentence in 5:02CR37 is to run
       concurrent with Defendant’s state sentence. All other terms and conditions previously
       imposed will remain the same; and
       2) The Deputy Clerk shall forward copies of this Order to the Defendant, counsel for the
       Defendant, the United States Attorney, the United States Marshal’s Service, the Federal
       Bureau of Prisons, and the United States Probation Department.



                                               Signed: April 5, 2010




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